Case 1:17-cV-05967-NGG-VI\/|S Document 48 Filed 08/15/18 Page 1 of 3 Page|D #' 590

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Record of Conl`erence and Orr.lers: Ve r:l t\'l. Sc:iulon. USMJ Date:

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3.'§0- \€150(

Ct‘.\ ll ll.‘§t.‘ll {See separately docket enrer or document for 5pechc nppenrances)
5 Counsel for Plaintif`f(s) U Pro Se Plainti{`f`(s) n Counsel for Def`endant(s) m Pro Se Def`endant(s)

Conl`erence 'l`ype:

m Initial Conferenee EJ Status Conference m Settlement Conl`erence amerinet C- Discovery Conference m
EJ JPTO Conference m Other

 

l"urther to the conference diseovet'v and other scheduling dates n re ns I`ollu\vs:
(l_'f dates previously ser by the Cr)nrt are nor reset they remain ns stated m the previous order.)

m Motions decided on the record L/Z ,_/_§' 6},`_0_ M_L;€ ,,_.. FLM
§ aA/(L doij Mr,.` so

ij Rule 26(a) disclosurcs, incl. supplements l/ N_d.:& M 72`:/\_§_5,,~»4[%7\
m Document requests to be served C}/'??”%» l /¢v CQ./)~.~a_é/l'
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E lnterrogntories to be served " o
m Amended pleadings incl.joinder 13 To be served 13 'Fo be filed
i:\ Comp[aint m Answer o On consent EJ By motion L'J By PMC letter

 

m Joint status letter m Stip of dismissal to be filed l
Um£s conference Date: h /{al / l,. g'l`ime: // ; w Iq/\__, `
mmrson t;\ Telephone (718) 613-2300 To be organized by:

§ Specific depositions to be held

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n Expert disclosures to be served
E lnitial expert report(s) to be served a »

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EJ Rebuttal expert report(s) to be served //

 

m Expert discovery closes

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m .loint letter confirming discoveiy is concluded / //Q _

 

 

 

E.'Mryjudgment to be initiated Q_.PMC letter -'“ Bricfing
Mtrial order to be filed o Lerter f`or conference lsdfg)pos’ed .IPTO ?'?/ /fc/

 

m Proposed confidentiality order to be filed

 

m Consent to Magistrate lodge to be filed

 

o Settlement Conf`erence Date: Time:

 

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Case 1:17-cV-05967-NGG-VI\/|S Document 48 Filed 08/15/18 Page 2 of 3 Page|D #: 591
Vera M. Scanlon, USMJ

Conl`erence Orders, Continucd
Case: w Civ.A. f gi § Q( § l
Date: g f /7€'!013

Additional Orders:

 

 

 

 

 

 

 

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Additional Orde ers:

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